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                                                ID #:10710
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   10
         Attorneys for Specially Appearing
         Defendant David Tassillo
   11
                                      UNITED STATES DISTRICT COURT
   12
                                    CENTRAL DISTRICT OF CALIFORNIA
   13 1----.-.-...,..,....T"ST"T--.----,.-,r-r'ITJ"T'<"...,,..----------,

   14
                                              Plaintiff,
   15                       V.

   16    MINDGEEK S.A.R.L. a foreign entity;
         MG FREESITES, LTD., a foreign entity;                              Case No. 2:21-cv-4920
   17    MINDGEEK USA INCORPORATED a
         Delaware corporation; MG PREMIUM                                   DECLARATION OF
   18    LTDt-sa forejg9 ~ntity; MG GLOBAL                                  JONATHAN S. SACK IN
         ENTtRTAINMENT INC., a Delaware                                     SUPPORT OF SPECIALLY
   19    corporation; 9219-1568 QUEBEC, INC.,                               APPEARING DEFENDANTS
         foreign entity; BERND B'ERGMAIR, a                                 FERAS ANTOON AND
   20    foreign individual; FERAS ANTOON, a                                DAVID TASSILLO'S
         foreign individual; DAVID TASSILLO, a                              MOTION TO DISMISS THE
   21    foreign individual~TYISA INC.;, a Delaware                         SECOND AMENDED
         CQl])pration· REDwOOD MA~TER                                       COMPLAINT
   22    FUND LTD, a foreign entity; MANUEL
         2018;., LL<; a Delaware co_!l)oration,
   23    GINuOGtRUM LLC a Delaware
         corporation; WHiTE-HATHAWAY
   24    OPPORTUNITY FUND, LLC A
         Delaware c91J)oratio~ COLBECK
   25    CAPITAL MANAGtMENT, LLC a
         Delaware Co~oratiol!.i. CB AGENCY
   26    SERVICES, i=LC A uelaware
         colJ)_oration; and CB PARTICIPATIONS
   27    SPV, LLC, a Delaware corporation
                                     Defendants.
   28 1------------------''---'-'-'--------'-':....:..._-_J

                                    DECLARATION OF JONATHAN S. SACK
                                          CASE NO. 2:21-cv-4920
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   1          I, Jonathan S. Sack, hereby state to the best of my knowledge and belief:
   2          1.     I am a member of the State Bars of New York and Connecticut, a
   3    Partner at the firm of Morvillo, Abramowitz, Grand, Iason & Anello, PC, and
   4    counsel of record (admitted pro hac vice) for defendant David Tassillo.
   5          2.     I submit this declaration in support of Feras Antoon and David
   6    Tassillo's joint Motion to Dismiss Plaintiffs Second Amended Complaint pursuant
   7    to Federal Rules of Civil Procedure 12(b)(2), 12(b)(6) and 9(b).
   8          3.     The declaration encloses documents that relate to allegations in
   9    Plaintiffs Second Amended Complaint that Mr. Antoon and Mr. Tassillo are each
   1o an alter ego of various MindGeek entities, including, but not limited to, MindGeek

   11   S.A.R.L., MG Freesites Ltd., MindGeek USA Incorporated, MG Premium Ltd,
   12   MG Global Entertainment Inc., and 9219-1568 Quebec Inc. (collectively, the
   13   "MindGeek Entity Defendants").
   14         4.     The enclosed documents are representative examples of corporate
   15   records maintained in the regular course of business and produced by the
   16   MindGeek Entity Defendants in this litigation, as described further below. Such
   17   records demonstrate the MindGeek entities' adherence to corporate formalities
   18   throughout Mr. Antoon and Mr. Tassillo's employment by 9219-1568 Quebec Inc.
   19   ("9219 Inc.").
  20    Annual Financial Statements
  21          5.     Enclosed as Exhibits 1-4 are true and correct copies of annual
  22    financial statements for 9219 Inc., MindGeek S.A.R.L., MindGeek Freesites Ltd.,
  23    and MindGeek Premium Ltd. from the period relevant to this litigation, each
  24    prepared by an outside auditor.
  25          6.     These entities prepared in the regular course of business similar
  26    annual financial statements throughout the period relevant to this litigation.
  27    Plaintiff received such corporate records during discovery.
  28
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                           DECLARATION OF JONATHAN S. SACK
                                     CASE NO. 2:21-cv-4920
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    1   Intercompany Agreements
   2            7.     Enclosed as Exhibits 5-6 are true and correct copies of the
   3    amendments to two services agreements, dated January 1, 2014, between 9219
   4    Inc., on the one hand, and MG Premium Ltd. and MG Freesites Ltd., on the other
   5    hand.
   6            8.     Similar agreements and amendments were executed between 9219
   7    Inc. and various MindGeek-affiliated entities during the period relevant to this
   8    litigation. Plaintiff received such corporate records during discovery.
   9    Corporate Board Minutes
   10           9.     Enclosed as Exhibits 7-8 are true and correct copies of board-of-
   11   directors meeting minutes for MindGeek S.A.R.L and MindGeek Premium Ltd.
   12   during the period relevant to this litigation.
   13           10.    These entities maintained in the regular course of business similar
   14   minutes during the period relevant to this litigation. Plaintiff received such
   15   corporate records during discovery.
   16   Resolutions
   17           11.    Enclosed as Exhibit 9-10 are a true and correct copies of resolutions
   18   for MindGeek Freesites Ltd. and RT Holding S.A.R.L. during the period relevant
   19   to this litigation.
  20            12.   These entities maintained in the regular course of business similar
  21    resolutions during the period relevant to this litigation. Plaintiff received such
  22    corporate records during discovery.
   23   Transfer Pricing Studies
   24           13.   Enclosed as Exhibit 11 is a true and correct copy of MindGeek
   25   Freesites Ltd.'s Transfer Pricing Documentation prepared by third-party
   26   accountant Raymond Chabot Grant Thornton LLP, dated December 31, 2019.
   27           14.   Plaintiff received such corporate records during discovery.
   28
                                                  -2-
                              DECLARATION OF JONATHAN S. SACK
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    1                                                  ***
   2           15.   I declare under penalty of perjury that the foregoing is true and
   3    correct.
   4    Executed on: August 30, 2024
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                          DECLARATION OF JONATHAN S. SACK
                                     CASE NO. 2:21-cv-4920
